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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

JASON NEWMAN, NINA BUIE,
GARRET RUBLE, LEIGHANN
FEATHERINGILL, AMIRA MORGAN,
KEVIN GROVE, and KEVIN CARTER,

        Plaintiffs,
                                                CASE NO.: 1:23-cv-01716-SEB-MG
        vs.

SOUTHERN NEW HAMPSHIRE
UNIVERSITY and LAUNCH
SERVICING, LLC,

        Defendants.


                              NOTICE OF SETTLEMENT

       COMES NOW, Plaintiffs, pursuant to S.D. Ind. L.R. 7-1(h), hereby file this Notice of

Settlement as to all Defendants.

       Dated April 5, 2024,

                                                       /s/ Christian E. Cok
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2024, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF System. I also certify that the foregoing document is being
served this day to counsel for Defendant, via e-notice, email or US Postal mail.


                                                            /s/Christian E. Cok
                                                            Christian E. Cok, Esq.
                                                            Florida Bar Number: 1032167




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